             Case 1:19-cr-01991-KWR Document 43 Filed 11/22/19 Page 1 of 5



                                           1
                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                 Plaintiff,

v.                                                            19-CR-1991JB

ANTONIO CARRILLO,

                 Defendant.


     UNOPPOSED MOTION TO CONTINUE DECEMBER 2, 2019 TRIAL SETTING AND
                       EXTEND MOTIONS DEADLINE

        Defendant Antonio Carrillo, by and through undersigned counsel, submits this Motion to

Continue the December 2, 2019 Trial Setting and Extend Motions Deadline.        Defendant requests a

45-day continuance of the trial date and for the Court to extend the motions deadline in accordance

with the trial continuance.    In support of this motion, Defendant states:

        1.       On July 15, 2019, Mr. Carrillo was arraigned and pleaded not guilty to an indictment

charging with one count of transmitting in interstate or foreign commerce a communication

containing any threat to kidnap any person or any threat to injure the person of another, in violation

of 18 U.S.C. § 875(c).

        2.       After arraignment, the Parties engaged in plea negotiations and had tentative

discussions regarding a resolution of the case. The Court granted multiple short continuances of

the trial date to facilitate the plea negotiation process.

        3.       On October 30, 2019, Defendant’s previously appointed counsel filed a motion

requesting leave to withdraw as attorney for Mr. Carrillo.        The Court granted the motion on

November 6, 2019. On the same day, the Court also granted a motion to continue the November
             Case 1:19-cr-01991-KWR Document 43 Filed 11/22/19 Page 2 of 5



                                               2
12, 2019 trial date until November 18, 2019. Undersigned counsel, Marshall J. Ray, was appointed

on November 7, 2019. Once Mr. Ray was appointed, he and Mr. Carrillo have been in

communication with one another, but Mr. Ray has not yet received a working copy of the discovery

for this case.   Without an opportunity to review the discovery, Mr. Carrillo’s new counsel is not in

a position to advise Mr. Carrillo regarding the case or to prepare for trial.

        4.       The parties have resumed plea negotiations and require time, including time to

schedule an interview with the United States Probation Office.

        5.       Defendant, Mr. Carrillo, respectfully requests a continuance of at least 45 days to

complete several tasks that are vital to his defense.   Specifically, Mr. Carrillo requests at least 45

days to: (i) prepare for trial, (ii) file all necessary pre-trial motions (this case involves complex

statutory interpretation issues and the First Amendment), and (iii) continue plea negotiations.

Forty-five (45) days is the minimum amount of time required to complete plea negotiations and carry

out the additional steps necessary for finalizing a plea, including a required interview with the United

States Probation Office and setting a change of plea hearing.

        6.       A continuance of at least 45 days is necessary for Defense counsel to perform the

following tasks:

                 a.     complete plea negotiations with the Government.

                 b.     If a resolution is not reached, then additional time will be needed for Defense

Counsel to research and prepare pretrial motions, including dispositive motions, motions in limine,

jury instructions.

                 c.     Complete the factual investigation into the case and of the charges that the

Government has brought against Defendant.

        7.       Mr. Carrillo requests a 45- day continuance and an extension of the motion deadline.
            Case 1:19-cr-01991-KWR Document 43 Filed 11/22/19 Page 3 of 5



                                               3
Mr. Carrillo’s counsel believes that 45 days reflects the minimum amount of time necessary to

complete plea negotiations

       8.         To render effective assistance of counsel, Mr. Ray requires a continuance to allow

time to receive and review discovery and evaluate any potential motions, including dispositive

motions, motions in limine, and analyze jury instructions.

       5.         Mr. Carrillo’s right to the effective assistance of counsel includes adequate time to

prepare a defense.      Without adequate time to prepare for trial, Mr. Carrillo will be denied effective

assistance of counsel. As the Eleventh Circuit has recognized,

                  Implicit in this right to counsel is the notion of adequate time for
                  counsel to prepare the defense: “Disposition of a request for
                  continuance . . . is made in the discretion of the trial judge, the exercise
                  of which will ordinarily not be reviewed. But the denial of opportunity
                  for appointed counsel to consult with the accused and to prepare his
                  defense, could convert the appointment of counsel into a sham and
                  nothing more than a formal compliance with the Constitution’s
                  requirement that an accused be given the assistance of counsel. The
                  Constitution’s guarantee of assistance of counsel cannot be satisfied
                  by mere formal appointment.”

       United States v. Verderame, 51 F.3d 249, 252 (11th Cir. 1995) (quoting Avery v. Alabama,

308 U.S. 444, 446, 60 S.Ct. 321, 322 (1940).

       9.         Mr. Carrillo agrees with this continuance and will not be prejudiced by it.

Additional time will not prejudice Mr. Carrillo and will permit him to prepare and file pretrial

motions, further investigate his case, and prepare for trial.            Additionally, a continuance will

potentially allow him to reach a favorable resolution with Government.          Counsel has discussed with

Mr. Carrillo his rights under the Speedy Trial Act and Mr. Carrillo understands his need for a

continuance and respectfully requests that the Court continue trial for at least 30 days as requested

by his counsel.     His agrees that the time between the current setting and the continued trial should

not be counted for purposes of the Speedy Trial Act.
         Case 1:19-cr-01991-KWR Document 43 Filed 11/22/19 Page 4 of 5



                                               4
        10.    Undersigned counsel affirmatively states that under the Speedy Trial Act, 18 U.S.C. §

3161(h)(7), the ends of justice and the public interest will be served by granting this extension of

time in which to file motions and a continuance of the trial.   See United States v. Hernandez-Mejia,

406 Fed. App’x. 330, 338 (10th Cir. 2011) (“The Speedy Trial Act was intended not only to protect

the interests of defendants, but was also ‘designed with the public interest firmly in mind.’”) (quoting

United States v. Toombs, 574 F.3d 1262, 1273 (10th Cir. 2009)). A continuance of the trial date will

allow for Mr. Carrillo and his counsel to complete plea negotiations, appointed counsel to prepare

motions, evaluate the discovery, assess defenses, and prepare for trial.          This motion is not

predicated upon the congestion of the Court’s docket.

        11.    Counsel for the Government has been consulted and does not oppose this motion.

        WHEREFORE, Defendant Antonio Carrillo, by and through undersigned counsel, and the

United States, respectfully requests that this Court continue the December 2, 2019 jury trial by 45

days.


                                       Respectfully Submitted,


                                       LAW OFFICES OF MARSHALL J. RAY, LLC

                                       /s/ Marshall J. Ray
                                       Marshall J. Ray
                                       201 Twelfth St. NW
                                       Albuquerque, NM 87102
                                       (505) 312-7598


                                  CERTIFICATE OF SERVICE

     I hereby certify that on the 22th day of November 2019, I filed the foregoing pleading via
CM-ECF, causing all registered parties to be served.

/s/ Marshall J. Ray
Marshall J. Ray
Case 1:19-cr-01991-KWR Document 43 Filed 11/22/19 Page 5 of 5



                              5
